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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 US DOMINION, INC., et al.,

 Plaintiffs/Counter-Defendants,

        v.                                           Civil Action No. 1:21-cv-02131 (CJN)

 PATRICK BYRNE.
 Defendant.




                            AMENDED SCHEDULING ORDER

       Upon review of the Parties’ Stipulated Motion to Amend Scheduling Order, the Court

enters the following schedule to govern discovery:

   1. Deadline to Serve Document Requests under Fed. R. Civ. P. 34: September 5, 2023

   2. Deadline for Completion of Fact Discovery: January 22, 2024

   3. Deadline for Proponents to Designate Expert Witnesses and Produce Expert

       Reports under Fed. R. Civ. P. 26(a)(2): February 12, 2024

   4. Deadline for Opponents to Designate Expert Witnesses and Produce Expert

       Reports under Fed. R. Civ. P. 26(a)(2): March 11, 2024

   5. Deadline for Proponents to Produce Responsive Expert Reports: April 8, 2024

   6. Deadline for Expert Depositions: May 17, 2024

   7. Status Conference: In-person Status Conference at 11:00 AM on June 5, 2024

   8. Deadline to File Dispositive Motions: July 1, 2024

   9. Deadline to File Oppositions to Dispositive Motions: July 29, 2024

   10. Deadline to File Replies in Support of Dispositive Motions: August 16, 2024
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It is so ORDERED.

DATE: May 15, 2023



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                                               CARL J. NICHOLS

                                               United States District Judge
